 JS 44 (Rev. 09!19)                 Case 3:19-cv-01547-VAB
                                                      CIVILDocument 1 Filed 10/01/19 Page 1 of 19
                                                           COVER SHEET
 The JS 44 civil cover sheet and the i~fonnation contained herein .n~ither replace nor supple~ent the fil.ing and service of p!eadings or other papers as required by law, except as
 provided by local rules of court. ThIs form, approved by the JudIcIal Conference of the Umted States III September 1974, IS requITed for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 I. (a) PLAINTIFFS                                                                                              DEFENDANTS
 MICHAEL SIMONS, M.D.                                                                                         YALE UNIVERSITY, PETER SALOVEY, ROBERT ALPERN, M.D.,
                                                                                                              UNKNOWN PERSONS
      (b) County of Residence of First Listed Plaintiff             NEW HAVEN                                   County of Residence of First Listed Defendant
                                 (EXCEPT IN u.s. PLAINTIFF CASES)                                                                              (IN U.S. PLAINTIFF CASES ONLy)
                                                                                                                NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                              THE TRACT OF LAND INVOLVED.

      (c) Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (IJKnown)
 Norman A. Pattis, PA TTIS & SMITH, LLC
 383 Orange Street. New Haven, CT 06511
 203-393-3017; npattis@pattisandsmith.com

 II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                       III. CITIZENSIllP OF PRINCIPAL PARTIES (Place an "X" in One BoxJor Plaintiff
                                                                                                           (For Diversity Cases Only)                                            and One Box Jor DeJendant)
 o    1 U.S. Government               Ql(3    Federal Question                                                                         PTF       DEF                                               PTF       DEF
           Plaintiff                            (Us. Government Not a Party)                          Citizen of This State            0 1       0 1        Incol]lorated or Principal Place         o   4   04
                                                                                                                                                              of Business In This State

 02       U.S. Government             04      Diversity                                               Citizen of Another State         o   2     0     2    Incol]lorated and Principal Place        0 5     05
             Defendant                           (Indicate Citizenship oJParties in Item III)                                                                  of Business In Another State

                                                                                                      Citizen or Subject of a          o   3     0     3    Foreign Nation                           o   6   06
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                                                                                                                                                                                     OTHER STATUTES                I
 o  110 Insurance                     PERSONAL INJURY                   PERSONAL INJURY       o 625 Drug Related Seizure                   o 422 Appeal 28 USC 158              o 375 False Claims Act
  o 120Marine                     o 310 Ail]llane                    o 365 Personal Injury -         of Property 21 USC 881                o 423 Withdrawal                     o 376 Qui Tam (31 USC
  o 130 Miller Act                0315 Ail]llaneProduct                     Product Liability 0690 Other                                             28 USC 157                        3729(a))
  o 140 Negotiable Instrument              Liability                 o 367 Health Care!                                                                                         o 400 State Reapportionment
  o 150 Recovery of Overpayment o 320 Assault, Libel &                     Pharmaceutical                                                      PROPERTY RIGHTS                  o 410 Antitrust
        & Enforcement of Judgment          Slander                         Personal Injury                                                 o 820~Copyrights                     o 430 Banks and Banking
  o 151 Medicare Act              o 330 Federal Employers'                 Product Liability                                               o 830 Patent                         o 450 Commerce
  o 152 Recovery of Defaulted              Liability                 o 368 Asbestos Personal                                               o 835 Patent - Abbreviated           o 460 Deportation
        Student Loans             o 340 Marine                              Injury Product                                                           New Drug Application       o 470 Racketeer Influenced and
        (Excludes Veterans)       o 345 Marine Product                      Liability                                                      o 840 Trademark                            Corrupt Organizations
  o 153 Recovery of Overpayment            Liability                   PERSONAL PROPERTY                  LABOR                                SO CIAl     , SEct~RITY          o 480 Consnmer Credit
        of Veteran's Benefits     ; j 350 Motor Vehicle              o 370 Other Fraud        o 710 Fair Labor Standards                   o 861 HIA (1395ft)                          (15 USC 1681 or 1692)
  o 160 Stockholders' Suits       o 355 Motor Vehicle                o 371 Truth in Lending          Act                                   o 862 Black Lung (923)               o 485 Telephone Consumer
  o 190 Other Contract                    Product Liability          o 380 Other Personal     o 720 LaborlManagement                       o 863 DIWCIDIWW (405(g))                   Protection Act
 o 195 Contract Product Liability o 360 Other Personal                     Property Damage           Relations                             o 864 ssm Title XVI                  o 490 Cable!Sat TV
 o 196 Franchise                          Injury                     o 385 Property Damage    o 740 Railway Labor Act                      o 865 RSI (405(g)                    o 850 Securities/Commodities!
                                  o 362 Personal Injury -                  Product Liability  o 751 Family and Medical                                                                Exchange
                                          Medical Malpractice                                        Leave Act                                                                  o 890 Other Statutory Actions
I       REAL PROPERTY                  CIVIL RIGHTS                   PRISONER PETITIONS o 790 Other Labor Litigation                          FEDERAL TAX SUITS                o 891 Agricultural Acts
 o 210 Land Condemnation          o 440 Other Civil Rights              Habeas Corpus:        o 791 Employee Retirement                    o 870 Taxes (U.S. Phrintiff          o 893 Environmental Matters
 o 220 Foreclosure                0441 Voting                        o 463 Alien Detainee           Income Security Act                            or Defendant)                o 895 Freedom of Information
 o 230 Rent Lease & Ejectment (1: 442 Employment                     o 510 Motions to Vacate                                               o   871 IRS-Third Party                    Act
 o 240 Torts to Land              o 443 Housing!                           Sentence                                                                26 USC 7609                  o 896 Arbitration
 o 245 Tort Product Liability            Accommodations              o 530 General                                                                                              o 899 Administrative Procedure
 o 290 All Other Real Property    o 445 Amer. wlDisabilities -       o 535 Death Penalty             IMMIGRATION                                                                      ActlReview or Appeal of
                                         Employment                     Other:                o 462 Naturalization Application                                                        Agency Decision
                                  o 446 Amer. wlDisabilities -       o 540 Mandamus & Other o 465 Other Immigration                                                             o 950 Constitutionality of
                                         Other                       o 550 Civil Rights             Actions                                                                           State Statutes
                                  o 448 Education                    o 555 Prison Condition
                                                                     o 560 Civil Detainee -
                                                                           Conditions of
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V. ORIGIN (place an           "X" in One Box Only)
~ I Original                0 2 Removed from               o    3   Remanded from               o   4 Reinstated or     0 5 Transferred from  0 6 Multidistrict                           o     8 Multidistrict
          Proceeding            State Court                         AppeIlate Court                   Reopened              Another District          Litigation -                                Litigation -
                                                                                                                      (specifY)                       Transfer                                   Direct File
                                        Cite the U.S. Civil Statute under which you are filing (Do not citejurisdictional statutes unless diversiJy):
                                        Title IX of the Education Amendments of 1972(US code 1681); 42 USC Section1981
VI. CAUSE OF ACTION                    f----,-....,.....,...----,.--:----:----------..:....----""""'"'---------------
                                       Brief description of cause:
                                         Violation of the plaintiffs rights, breach of his right to privacy, breach of contract and wrongful dischard
VII. REQUESTED IN                       o      CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                       CHECK YES only if demanded in complaint:
     COMPLAINT:                                UNDER RULE 23, F.R.Cv.P.                                                                                ruRYDEMAND:          M Yes ONo
VIII. RELATED CASE(S)
      IF ANY                                 (See instructions).'
                                                                                                                                               DOCKET NUMBER
DATE
09/30/2019
FOR OFFICE USE ONLY

     RECEIPT #                  AMOUNT                                      APPLYING IFP                                       JUDGE                              MAG. JUDGE
JS 44 Reverse (Rev. 09/19)
                             Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 2 of 19
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The 1S 44 civil cover sheet and the infonnation contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This fonn, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the fonn as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract ofland involved.)
  (c)    Attorneys. Enter the finn name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U. S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.s. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.c., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.    Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
     Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 3 of 19



                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT
MICHAEL SIMONS, M.D.,
     Plaintiff,                                   :cv- - - - - - -


YALE UNIVERSITY,
PETER SALOVEY,
ROBERT ALPERN, M.D.,
UNKNOWN PERSONS,
Defendants.                                       SEPTEMBER 30, 2019
                                   COMPLAINT

       1.    This is an action for violation of the plaintiffs rights arising under

Title IX of the Education Amendments of 1972 (20 United States Code Section

1681) and 42 United States Code Section 1981, Title VII of the Civil Rights Act of

1964,42 U.S.C. Section 2000e et seq., and for breach of his right to privacy

under Connecticut law, for breach of contract and the implied warranty of fair

dealing arising under Connecticut law, wrongful discharge and his right to be free

from negligent infliction of emotional distress arising under Connecticut law.

                                   Jurisdiction


      2.     Jurisdiction and venue are evoked pursuant to 28 U S.C. Sections


1331 and 1332 and 28 U.S.C. Section 1391b)'


                                      Parties


       3.    The plaintiff, Dr. Michael Simons, is an adult resident of the State of

Connecticut. He also maintains a resident in London, England. He is a physician,




                                             1
     Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 4 of 19



medical researcher and faculty member of the Yale School of Medicine and is

employed by Yale University.

       4.     Yale University, herein after "the university," is a private educational

institution organized and operating in the State of Connecticut. The university

maintains undergraduate, graduate and professional courses of studies, including

a medical school, serving approximately 7,500 students. The university employs

thousands of persons. It receives federal funds within the meaning of 20

U.S.C. Section 1681 et seq. ("Title IX").


       S.    Peter Salovey was at all time relevant to this Complaint, and he

remains, president of the university. He is also the Chris Argyris Professor of

Psychology at the university.

       6.    Dr. Robert Alpern was at all times relevant to this Complaint the

Dean of the Yale School of Medicine.

       7.    Unknown persons employed by the university are named herein as

conduits of private information transmitted to news media, including The New

York Times and The Washington Post.


                                       Facts


       8.    In 2008, the university offered the plaintiff, a cardiologist with an

international reputation as a scholar, a tenured professorship and a position as

the Chief of Cardiology in the School of Medicine. At the same time, the plaintiff

was offered an endowed chair, the Robert W. Berliner Professorship of Medicine,



                                               2
     Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 5 of 19



a position named for the former Dean of the Yale School of Medicine. Part of the

offer also included an appointment of the plaintiff to the role of Chief of

Cardiovascular Medicine at the Yale-New Haven Hospital. Dr. Simons accepted

the offer and began employment in these various roles in 2008. Dr. Simons

relinquished the A.G. Huber Endowed professorship at Dartmouth College on the

basis of the offer of the Berliner professorship at Yale.


       9.     An integral part of Dr. Simons' written contract was appointment to

the Robert W. Berliner Professorship of Medicine. The possession of an endowed

chair reduces a faculty members dependence on grants thereby increasing their

financial security. It further facilitates the success of grant applications, as the

prestige of having an endowed chair reflects the applicant's standing in the

scientific community and positively affects grant funding bodies' view of the

applicant. Endowed chairs are a rare commodity and are offered only to the very

best and select members of the faculty. In Dr. Simons' case, the endowed chair

was the pinnacle of a 25-plus year academic career.

       10.   In 2009, the university appointed Dr. Simons to the position of


Director of the Yale Cardiovascular Research Center.


      11. The university has in recent years been subjected to regulatory and

public relations scrutiny over how it handles claims of sexual misconduct by male

students and male employees against female students and female employees.




                                             3
     Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 6 of 19



       12. In April 2011, the university received a letter from the Office of Civil

Rights of the federal Department of Education (DOE), the so-called "Dear

Colleague" letter. This letter advised recipients that universities needed to "take

immediate action to eliminate [sexual] harassment, prevent its recurrence, and

address its effects, or face potential loss of federal funding under Title IX of the

Education Amendments of 1972, 20 U.S.C. Section 1681, et seq. and its

attendant regulations.

       13.    In the wake of the 'Dear Colleague" letter, the DOE began a highly

publicized series of investigations of colleges and universities to determine

whether those institutions took a strong enough stand against claims of alleged

sexual harassment.

       14.    In late 2010 and early 2011, the Office of Civil Rights concluded, in

response to a complaint from a Yale student, that the university was deficient in

the manner in which it responded to allegations of sexual misconduct on

campus. The federal agency concluded that these deficiencies tended to create

and foster a sexually hostile environment toward women.

       15.   As a result of this criticism, the university created a University-Wide

Committee on Sexual Misconduct, "UWC," to provide formal and informal means

of resolving claims of alleged sexual misconduct. The UWC is charged with

enforcing Yale's Sexual Misconduct Policy. The plaintiff was subject to the

policies and jurisdiction of the UWC as a faculty member.




                                             4
      Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 7 of 19



         16.   The university adopted Procedures Governing the University-Wide

Committee on Sexual Misconduct. These procedures set out the rights and

responsibilities of an accuser, the accused and the university in a complaint

about sexual misconduct.

         17.   In 2013, the university was subject to hostile criticism and

complaints by activists that it tolerated sexual misconduct by student and alumni

groups, including a group calling itself "Students Against Sexual Violence at

Yale," and a group of alumni who wrote an open letter to Defendant Salovey

urging a more forceful response to allegations of sexual misconduct. The

activities of the student and alumni groups were widely reported upon in the

press.

         18.   Just before the university created the UWC, in February 2010, the

plaintiff sent a letter to a junior colleague, Dr. Jane Doe, whose name and

identity are known to the defendants. The letter was a declaration of love and

romantic interest of the sort men have sent to women from time immemorial. The

recipient was not a subordinate of the plaintiff's and was in no way dependent

upon him for her position. Dr. Doe made clear to the plaintiff that the plaintiff's

romantic interest was unrequited, and, after an exchange of several emails, the

communications between two ceased, ending finally in 2011.

         19.   Dr. Doe subsequently developed a romantic relationship with

another physician/colleague, Dr. Robert Roe. When Dr. Roe experienced

professional difficulties at the Yale Medical School, Drs. Roe and Doe decided




                                              5
     Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 8 of 19



that the plaintiff was to blame, and that the plaintiff had acted to undermine Dr.

Roe in an effort to retaliate against Dr. Doe.

       20.    In 2013, Dr. Doe filed a complaint with the UWC alleging that she

had been sexually harassed within the meaning of Yale's Sexual Misconduct

Policy. The university retained retired Connecticut Superior Court Judge Beverly

Hodgson to conduct an independent investigation of the allegations and claims

raised in Dr. Doe's complaint.

       21.   After Judge Hobson's lengthy fact-finding, the UWC concluded that

Dr. Simons had, in fact, sexually harassed Dr. Doe. It recommended that Dr.

Simons be suspended as chief of cardiology for a period of five years. After an

appeal to the university's provost, the suspension was reduced to 18 months.

This sanction was confirmed by Defendant Salovey and imposed.

       22.   An express term and condition of the UWC Procedures is that "[t]he

UWC and all members of the Yale community who are involved in a matter

before the UWC are expected to maintain the confidentiality of its proceedings

and the information obtained for those proceedings. Disciplinary action may be

taken against any member of the Yale community who discloses a UWC

Document in violation of these procedures or who is responsible for the improper

disclosure of such documents by others."

       23.   Despite the confidential nature of the UWC proceedings, the

discipline imposed on Dr. Simons was leaked by one or unknown persons to the

media, including The New York Times. As a result of the public reaction to those




                                             6
      Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 9 of 19



stories, the university, in 2013, forced Dr. Simons to resign as Chief of

Cardiology. After a second series of stories in The New York Times, the

university then demanded that Dr. Simons resign as Director of the

Cardiovascular Research Center. When Dr. Simons refused to do so, the

university took the position away from him.

       24.    Neither the plaintiff nor anyone associated with him disclosed to the

media that discipline imposed or the results of the UWC investigation. When Dr.

Simons complained about the disclosure of private information to the press, the

university refused to act or to investigate.

       25.    Dr. Simons remained a member in good standing of the university's

faculty and successfully completed the suspension imposed as a penalty for

violation of the sexual harassment policy. Throughout this period, Dr. Simons

retained the Robert W. Berliner Professorship of Medicine, a position that

maintained the plaintiff's ability to attract grants, and, therefore, compensation.

       26.    On or about 2017, general media reports about men alleged to

have engaged in sexual misconduct with women became a rallying point for

activists galvanized by the slogan and social media hashtag #MeToo. Said

activists generated an implacable intolerance to any perceived instance of sexual

harassment, inculcating an ethos requiring that victims be believed uncritically,

and fostering a general climate of hysteria in which activists were unable to

distinguish genuine acts of sexual misconduct from the sort of normal courting




                                               7
    Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 10 of 19



behavior customary between men and women, such as the love letter sent by Dr.

Simons to Dr. Doe in 2010.

       27.   Upon information and belief, in early 2018, one or more persons

unknown sympathetic to the #MeToo movement with knowledge of the

confidential UWC proceedings against Dr. Simons sought to inflict further

punishment on Dr. Simons for the love letter he sent in 2010. According to Dean

Alpern, these persons contacted the Berliner family, which endowed the Robert

W. Berliner Professorship of Medicine, encouraging the family to demand that

the university remove Dr. Simons from the professorship.

       28.   According to Dr. Alpern, members of the Berliner family contacted

Yale administrators, including Defendant Salovey, to express their desire to

remove Dr. Simons from the Robert W. Berliner Professorship of Medicine.

Fearing a backlash from #MeToo actitvists and hoping to placate them,

Defendant Salovey and the administration began exploring how to remove Dr.

Simons from the chair.

      29.    In the Spring of 2018, Defendant Alpern, who was then Dean of the

Medical School, approached Dr. Simons and asked him to relinquish the Robert

W. Berliner Professorship in exchange for a different endowed chair. the

Waldemar Von Zedwitz Professor of Cardiology. Dr. Alpern explained that the

exchange was an unfortunate necessity given the political climate on campus.

      30.    Dr. Simons reluctantly agreed to the exchange.




                                           8
     Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 11 of 19




       31.    On June 22,2018, Defendant Salovey sent Dr. Simons a letter

confirming Dr. Simons' appointment as the Waldemar Von Zedwitz Professor of

Cardiology, noting that "endowed chairs are awarded to those whose scholarship

has brought distinction to the university." Defendant Salovey also noted, "I am

delighted to convey our pleasure in your accomplishments," noting that the

university's newspaper would "soon publish a story announcing the

appointment. "


       32.   #MeToo activists and sympathizers immediately complained that

the university had conferred a new honor on Dr. Simons.

       33.   On September 6, 2018, the university released a statement through

the university's newspaper that Dr. Simons was transferred from the Berliner

Professorship to the Waldemar Von Zedtwitz Professorship in part due to

concerns raised by the Berliner family, who had previously endowed the chair,

and in part to make the Berliner Professorship available to a new employee. The

announcement contended, despite what Defendant Salovey had written in June,

that "the University had no intention to confer a new honor on Dr. Simons."

       34.   #MeToo activists and sympathizers were unsatisfied by the transfer

of chairs, contending that it signaled a tolerance and acceptance of sexual

misconduct. Ignoring the fact that Dr. Simons had already been punished for

sending a quotidian love letter, the activists wrote an open letter condemning the

university and Defendant Salovey for honoring Dr. Simons with a new

appointment. "We are submitting this letter to voice our disgust and



                                            9
     Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 12 of 19




disappointment with this decision. We hope this letter sends that message in

support of those targeted by his harassment at Yale and around the country who

will see this action and be discouraged from speaking up," the activists wrote.

       35.     The university responded immediately, saying through a

spokesman that: "We agree that in cases where someone has been found,

through a formal process, to have violated University standards of conduct, there

should be a presumption against awarding new honorifics .... We realize that

recent announcements about a specific circumstance may appear to be at odds

with these statements and want to take this opportunity to provide clarification ...

In making this transfer, the University had no intention to confer a new honor on

Dr. Simons."


       36.     Unsatisfied with the university's response to their complaints to the

administration, activists turned to the media, including The New York Times and

The Washington Post. In mid-September, the university decided it would take

further action against Dr. Simons in order to placate critics.

       37.     Knowing that Dr. Simons was in London where his wife lives and

works, and seemingly unable to mount an effective legal challenge to the

university's actions, Defendant Alpern called Dr. Simons at around 8 p.m.

London time On September 20, 2018, and told the plaintiff that the university

was concerned about the public criticism directed at the university's transfer of

the plaintiff to the Waldemar Von Zedtwitz Professorship.




                                             10
     Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 13 of 19




        38.   During the September 20, 2018 conversation. Dr. Alpern also told

that plaintiff that the plaintiff had until noon the following day, September 21 ,

2018, to resign from the Waldemar Von Zedtwitz Professorship. Dr. Alpern

refused to give the plaintiff more time to consider the choice.

       39.    Dr. Simons informed Defendant Alpern that he would not resign. He

retained counsel who sought to block the university's unilateral action by way of

an action for ex parte injunctive relief filed the morning of September 21, 2018, in

the Superior Court for the Judicial District of New Haven. The Superior Court

denied Dr. Simons' request for emergency relief, and the Waldemar Von

ZedWvitz Professorship was taken from him on September 21, 2018.

       40.    Yale has provided some financial support in lieu of the chair in the

year following removal of the chair, but is not contractually obligated to do so in

the future.

       41.    Dr. Simons subsequently timely complained to the federal

Department of Education, to the federal Equal Employment Opportunity

Commission (EEOC) and to the Connecticut Commission on Human Rights

(CHRO). He has received a release of jurisdiction from the EEOC and the

CHRO. The federal Department of Education never responded to, or

acknowledged, his complaint. This action is timely filed.

       42.    Dr. Simons remains an employee of the university.




                                             11
    Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 14 of 19




                           BREACH OF CONTRACT


      43.    Paragraphs one through 42 are incorporated herein.


      44.    The university and Dr. Simons entered into an employment contract

as to the terms, conditions, titles, and compensation of employment in 2008. The

university amended that contract in 2009 when it offered Dr. Simons the position

of Director of the Yale Cardiovascular Research Center.

      45.    A material term of the contract was the university's and Dr. Simons'

being bound and obligated to the rights and duties imposed by the Procedures

Governing the University-Wide Committee on Sexual Misconduct.


      46.    The university unilaterally and unjustly breached the contract in the

following ways:


             a.     Imposition of successive and duplicative punishment for

                    violation of the of the policies against sexual harassment;

             b.     Unilaterally removing the plaintiff from his endowed chair in

                    response to negative publicity by #MeToo activists and

                    sympathizers;

             c.     Removing the plaintiff from his endowed chair without any

                    meaningful opportunity to contest the removal through

                    proper university channels and procedures.




                                           12
     Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 15 of 19




       47.     As a direct and proximate result of the acts and omissions herein

described, Dr. Simons suffered direct economic damages in the form of lost

wages, lost grant opportunities, inability to secure alternative employment, and

other ascertainable economic loss. Dr. Simons has been marginalized at Yale.

              BREACH OF IMPLIED WARRENTY OF FAIR DEALING

       48,     Paragraphs one through 47 are incorporated herein.

       49,.    The university breached its implied warranty of fair dealing with the

plaintiff by inducing him to come to the university, offering him a combination of

positions and the compensation that flowed from those positions, and leading him

to believe that the positions could be taken from him only as a result of

renegotiation or under the terms and conditions of written university policies.

       50.    The decision to remove the plaintiff from the Waldemar Von Zedtwitz

Professorship was a craven effort to placate activists and avoid the negative

publicity of further criticism and did not follow any Yale procedures or policies.

       51.    The summary manner of providing him notice of intent to remove

him from the position, on short notice while he was out of the country, was

unconscionable, and was intended to deprive him an effective right to contest the

university's decision in either a court of law or before a university tribunal.

       52. As a direct and proximate result of the acts and omissions herein

described, Dr. Simons suffered direct economic damages in the form of lost

wages, lost grant opportunities and other ascertainable economic loss.




                                              13
     Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 16 of 19




                            WRONGFUL DISCHARGE


       53.     Paragraphs one through 52 are incorporated herein.


       54.    The defendants engaged in wrongful discharge by orchestrating the

plaintiffs removal from the Waldemar Von Zedtwitz Professorship in the manner

and means and for the purposes described above.

       55.    As a direct and proximate result of the acts and omissions herein

described, Dr. Simons suffered direct economic damages in the form of lost

wages, lost grant opportunities and other ascertainable economic loss, together

with emotional distress and suffering.

             NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS


       56.    Paragraphs one through 55 are incorporated herein.


       57.    The defendants acted in such a matter as negligently cause Dr.

Simons to suffer emotional distress and humiliation.

             TITLE IX - DOUBLE JEOPARDY DUE PROCESS CLAIM

       58.    Paragraphs one through 57 are incorporated herein.


      59.     Title   IX affords due process protections to claimants and

respondents in any action alleging sexual harassment.




                                           14
     Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 17 of 19




          60.   Dr. Simons was accused of sexual harassment, and, after a fully

internal adjudication of the Title IX process, was subjected to discipline. Dr.

Simons completed the discipline imposed.

         61.    In response to publicity and complaints of activists, the university

took further punitive action against Dr. Simons, effective punishing him twice for

the same conduct, in violation of the due process requirements of Title IX. Yale

went beyond the adjudicated discipline over and over again: first, by taking away

Dr. Simons' directorship of the Cardiovascular Center, then by forcing him to

resign as chief of cardiology, and then by taking away his endowed chair five years

later.

         62.    The defendants' acts were intentional and inspired by malice.

         63.    As a direct and proximate result of the acts and omissions herein

described, Dr. Simons suffered direct economic damages in the form of lost

wages, lost grant opportunities and other ascertainable economic loss.

           TITLE VII - DISCRIMINATION ON ACCOUNT OF GENDER

         64.    Paragraphs one through 63 are incorporated herein.

         65.    Dr. Simons is a Caucasian male.

         66.    The defendants have never punished a female multiple times for

the same conduct in any disciplinary action involving sexual harassment.

         67.    Upon information and belief, the defendants have subjected only

Caucasian males to punishment twice for the same conduct.




                                             15
     Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 18 of 19




       68.     The defendants acted intentionally and in a discriminatory manner

in regard to Dr. Simons for the express purpose of placating those #MeToo

activists and sympathizers in the grip of moral panic and self-righteous

indignation.

        BREACH OF PRIVACY· PUBLICATION OF PRIVATE FACTS

       69.     Paragraphs one through 68 are incorporated herein.

       70.     Despite the fact the UWC disciplinary proceedings are intended to

be private and confidential, unknown defendants associated with Yale caused

private information about Dr. Simons to be publicized to others for the purpose of

satisfying their political agenda.

                                       DAMAGES

       71 .    The plaintiff claims damages as follows:

               A.     Lost wages and benefits;

               B.     Compensatory damages for lost wages, lost reputation,

                      emotional distress and suffering; loss of professional

                      opportunities;

               C.     An order restoring the plaintiff to the Waldemar Von Zedwitz

                     Professorship, or to a chair of comparable honorific

                     value;

               D.     Punitive damages;

               E.     Attorney's fees and costs;

               F.     Such other relief as this Court deems fair and equitable.




                                             16
Case 3:19-cv-01547-VAB Document 1 Filed 10/01/19 Page 19 of 19




       THE PLAINTIFF CLAIMS A TRIAL BY JURY AS A MATTER OF
       RIGHT




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